          Case 1:12-cv-00785-PEC Document 82 Filed 06/07/16 Page 1 of 2



                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

__________________________________________
                                          )
RICHARD P. WATSON,                        )
                                          )
                  Plaintiff,              )
                                          )
            v.                            )                   No. 12-785C
                                          )                   (Chief Judge Campbell-Smith)
UNITED STATES OF AMERICA,                 )
                                          )
                  Defendant.              )
__________________________________________)

                                STIPULATION OF DISMISSAL

       In accordance with Rule 41(a)(1)(A)(ii) of the Rules of the United States Court of Federal

Claims, and the Order of the Court dated June 1, 2016, ECF No. 81, the parties to this matter, Mr.

Richard P. Watson, Plaintiff, and the United States of America, Defendant, hereby stipulate to

the dismissal with prejudice of counts one through four of Mr. Watson’s amended complaint,

ECF No. 49, and to the dismissal without prejudice of counts five and six of the amended

complaint, id.    The parties respectfully request that the Court enter an order noticing the

dismissal of this matter in the manner stated above. The parties also express their gratitude to the

Court for its sustained attention in this matter.


                                               Respectfully submitted,

                                               /s/ Raymond J. Toney
                                               Raymond J. Toney
                                               The Law Office of Raymond J. Toney
                                               55 East 100 North, Suite 103
                                               Logan, UT 84321
                                               Tel: 435-787-6366, Fax: 510-239-5438
                                               E-mail: rjtoney@militarylawpro.com

                                               Counsel for Plaintiff
         Case 1:12-cv-00785-PEC Document 82 Filed 06/07/16 Page 2 of 2



                                       BENJAMIN C. MIZER
                                       Principal Deputy Assistant Attorney General

                                       ROBERT E. KIRSCHMAN, JR.
                                       Director

                                       /s Reginald T. Blades, Jr.
                                       REGINALD T. BLADES, JR.
                                       Assistant Director
OF COUNSEL:
                                       /s Alexis J. Echols
CPT. DANIEL D. HILL                    ALEXIS J. ECHOLS
Litigation Attorney                    Trial Attorney
Military Personnel Litigation Branch   United States Department of Justice
U.S. Army Litigation Division          Civil Division
9275 Gunston Road, 3rd Floor           Commercial Litigation Branch
Fort Belvoir, VA 22060-5546            P.O. Box 480
                                       Ben Franklin Station
                                       Washington, DC 20044
                                       Telephone: (202) 616-0463
                                       Facsimile: (202) 307-2503

June 7, 2016                           Attorneys for Defendant




                                         2
